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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA,
                                                              Civil Action No. 16-1471(MCA)
                          Plaintiffs,
                                                                    AMENDED ORDER
 v.
 $115,032.50 IN UNITED STATES
 CURRENCY,
                          Defendants.


          THIS MATTER comes before the Court by way of the Court’s February 14, 2019 Order

to Show Cause directing Claimant, Matthew Shane Robinson, to show cause in writing why his

claim should not be dismissed pursuant to Federal Rules of Civil Procedure 16(f) and 37, ECF.

No. 24;

          and it appearing that Judge Hammer issued a Report and Recommendation dated April 10,

2019 in which Judge Hammer recommended that this Court dismiss Claimant’s claim with

prejudice; and

          it appearing that neither Defendant nor Plaintiff have filed any objections to the Report and

Recommendation; and

          it appearing that for the reasons set forth in Judge Hammer’s Report and Recommendation;

          IT IS on this 6th day of May, 2019,

          ORDERED that this case is hereby reopened;

          ORDERED that Judge Hammer’s Report and Recommendation dated April 10, 2019 is

ADOPTED and claimant’s claim is dismissed with prejudice.

                                                        /s Madeline Cox Arleo__________
                                                        Hon. Madeline Cox Arleo
                                                        United States District Judge
